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                 Exhibit D
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                                         AFFIDAVIT OF ATTEMPTS
Case No: 2:23-cv-l2El

Elite Casino Events. LLC
vs.
Elite Casino Events. LLC

My name is David Barberena, I am over the age of 18 years of age. I am authorized to deliver Subpoenas, Citations and other
notices within the State of Texas. I am not associated with the parties nor interested in the outcome of this matter. I am fully
competent to testifi to the matters stated in this affidavit. I have personal knowledge of the facts and statements contained in this
affidavit.

On September 19,2023I received thefollowing Summons and Compliint.

I was contracted to deliver these documents to Elite Casino Events at2205 North Henderson Avenue, Dallas, TX 75206.

I was unable to deliver these documents, but the following attempt was made.

Attempt #l - 912012023 - 12:25 PM
I arrived at2205 North Henderson Avenue in Dallas. This address is just an empty lot.

* I was given the address of 100 Crescent Court, Ste. 700, Dallas, TX 75201 as the business address for Elite Casino Events.

Attempt #2 - 912l/2023 - 10:30 AM
I arrived at 100 Crescent Court, Ste. 700 in Dallas. This office suite is a shared office space. The receptionist said no one from Elite
Casino Events was there. I left my contact info and asked her to have them call me. I never received a phone call.

* I was given 1913 Windmill Hill Lane, Desoto, TX 75115 as the home address for Elaine Davidson.

Attempt #3 - 912312023 - 9:15 AM
I arrived at l9l3 Windmill Hill Lane in Desoto. I rang the doorbell multiple times and there was no answer. I left a contact request slip
attached to the door and mailbox.

Attempt #4 - 912512023 - 4:35 PM
I arrived at l9l3 Windmill Hill Lane in Desoto. I rang the doorbell multiple times and there was no answer. The contact request slip
that I previously left on the front dodr was still attached. The contact request slip attached to mailbox had been removed. There was a
package addressed to Elaine Davidson hanging out of the mailbox. I left a new contact request slip in the mailbox.


Attempt #5 - 912612023 - 9:35 AM
I arrived at 1913 Windmill Hill Lane in Desoto. I rang the doorbell multiple times and there was no answer. The contact request slip
that I previously left on the front door was still attached. The contact request slip attached to mailbox had been removed. I left a new
contact request attached to the mailbox. There was a package addressed to Elaine Davidson by the front door.


I declare under penalty ofperjury that the foregoing is true and correct.




DAVID BARBERENA
PSCr 1734
EX.t2-3r-24
STATE OF TEXAS
TARRANT COUNTY
My name is David Berbcrcna my datc of birth is 4-18-76 and my eddrcss is 301 Commerce Strect, Fort Worth, TX 76102. I declare under
penelty ofpcrjury that the foregoing is true and correct.

Exccutcd in Terrent Countv. Statc ofTexas on9-26-2023




                                                                                             ".2Jfu           Declarant
